                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )          No. 3:02-00054
                                                )          JUDGE CAMPBELL
RICHARD NANEZ                                   )

                                            ORDER

       Pending before the Court is a Motion For Reconsideration And Modification Of Sentence

Pursuant To 18 U.S.C. § 3582(c)(2) (Docket No. 237), filed by Defendant Nanez, pro se.

Through the Motion, Defendant Nanez seeks reduction of his sentence pursuant to 18 U.S.C. §

3582(c)(2), which provides that the Court may not modify a term of imprisonment once it has

been imposed, except:

       (2) in the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the
       Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of the
       defendant or the Director of the Bureau of Prisons, or on its own motion, the court
       may reduce the term of imprisonment, after considering the factors set forth in
       section 3553(a) to the extent that they are applicable, if such a reduction is
       consistent with applicable policy statements issued by the Sentencing
       Commission.

Defendant contends that his sentence should be reduced under this section based on Amendment

518 to the United States Sentencing Guidelines that became effective on November 1, 1995.

U.S.S.G. App. C, amendment 518.

       The Defendant was sentenced on July 14, 2006. (Docket No. 222). Therefore,

Amendment 518 was already in effect when the Defendant was sentenced, and therefore, did not

“subsequently lower” Defendant’s sentencing guideline range as required for application of

Section 3582(c)(2). See, e.g., United States v. Hartin, 321 Fed.Appx. 408, 2009 WL 1024295 (5th

Cir. April 16, 2009). In addition, Amendment 518 is not one of the amendments listed as


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retroactive under U.S.S.G. § 1B1.10(c), which is also required for application of Section

3582(c)(2). Id.; United States v. Padilla, 244 F.3d 135, 2000 WL 1901524 (5th Cir. Dec. 13,

2000); United States v. Washington, 584 F.3d 693, 694 n. 1 (6th Cir. 2009). Accordingly,

Defendant’s Motion is without merit, and is DENIED.

       It is so ORDERED.



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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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